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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Norfolk Division



R. ALEXANDER ACOSTA,
SECRETARY OF LABOR,
UNITED STATES DEPARTMENT
OF LABOR,

                              Plaintiff,

                                                                   Action No. 2:18cv226


MEDICAL STAFFING OF
AMERICA,LLC,et al..

                              Defendants.



                                              ORDER


       On February 28, 2019, counsel contacted the Court due to a dispute that arose during the

deposition ofAlvaro Mazuera("Mr. Mazuera"),an investigator with the United States Department

of Labor, and the Court held a telephonic conference. See ECF No. 41. During Mr. Mazuera's

deposition,counsel for defendants. Medical Staffing ofAmerica, LLC,doing business as Steadfast

Medical Staffing, and Lisa Pitts (collectively "defendants"), sought the disclosure of the

individuals who made statements to Mr. Mazuera during the course of his investigation, as well as

the contents of those statements. Counsel for plaintiff R. Alexander Acosta, Secretary of Labor,

United States Department of Labor ("the DOL") instructed Mr. Mazuera not to answer certain

questions, citing the informants privilege.

       Based on the information provided during the conference call, the Court applied the

balancing test established in Roviaro v. United States, 353 U.S. 53(1957),overruled the objection
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in part, and ordered the disclosure of the full, unredacted statements, including the identities, of

four individuals who were no longer affiliated with or employed by defendants at the time they

were interviewed by Mr. Mazuera in 2017. ECF No. 41. The Court upheld the objection with

respect to the three individuals who were affiliated with or employed by defendants at the time of

Mr. Mazuera's interviews, and set an abbreviated briefing schedule for the DOL's challenge ofthe

order. Id.

        On March 4, 2019, the DDL filed a motion to vacate' the Order, with an affidavit in

support. ECF Nos. 42,48. Defendants opposed the motion to vacate, and the DOL replied. ECF

Nos. 50, 51. For the reasons that follow, the motion to vacate is GRANTED.

        The qualified privilege set out in Roviaro, 353 U.S. at 77, referred to as the informants

privilege, applies in FLSA enforcement actions, and permits the Secretary to withhold the names

of people who have given statements to FLSA investigators, as well as the statements themselves.

 United States v. Hemphill, 369 F.2d 539, 542 (4th Cir. 1966) ("The qualified privilege of

withholding the names and statements of informants has been repeatedly and consistently upheld

by the Courts."); Brennan v. Engineered Prods., Inc.^ 506 F.2d 299,302(8th Cir. 1974)(collecting

cases). The reason for the privilege is that enforcement of the FLSA is dependent on the

cooperation of employees who are willing to give statements, and preserving their confidentiality

assists the government in implementing the FLSA. Wirtz v. B.A.C. Steel Prods., Inc., 312 F.2d 14,

16 (5th Cir. 1962)("The average employee involved in this type of action is keenly aware of his

dependence upon his employer's good will, not only to hold his job but also for the necessary job




'Inasmuch as the plaintiff filed a motion to vacate, rather than an objection to the Court's Order,
the plaintiffs motion is construed as a motion for reconsideration.
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references essential to employment elsewhere. Only by preserving their anonymity can the

government obtain the information necessary to implement the law properly."). In determining

whether the qualified privilege should apply, the public's interest in enforcement ofthe FLSA,and

informant's right to anonymity, must be balanced against the defendants' need to prepare for trial.

Hodgson V. Charles Martin Inspectors ofPetroleum, Inc., 459 F.2d 303, 305 (5th Cir. 1972).

       The DOL asserts that its interests in protecting the identities of informants far outweighs

defendants need for the identities. ECF No. 43 at 3. The privilege shields informants from

retaliation, allows candid discussions, and facilitates cooperation. Id. at 4. The DOL argues the

privilege applies to former as well as current employees, because knowledge of informants'

identities could affect: (1)references given by a defendant employer to an informant's prospective

new employer,(2) the informant's attempt to seek reemployment with a defendant, and (3) the

informant's status with a new employer who learns the informant had cooperated with the DOL

regarding a prior employer. Id. at 7-8 (citing Charles Martin,459 F.2d at 305-06).

       The DOL asserts defendants can ascertain informants'job titles, duties and responsibilities,

hiring and placement process, and the relationship between informants and defendants from the

redacted records provided, and have no need to know the identity of the informants. Id. at 6.

Further, the DOL notes that defendants have the list of84 individuals, the "Schedule A workers,"

who are potential witnesses in the case,and about whom the defendants already possess substantial

information due to their prior working relationship. Id. at 12. The DOL further asserts that it will

disclose the names of those informants who will testify at trial on April 22, 2019, in accordance

with the Court's amended Rule 16(b) scheduling order, as well as the unredacted statements the

informants provided to the DOL. ECF No. 43 at 3, 15; ECF No. 50-1 at 3(DOL represented an
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"intention to produce unredacted statements prior to trial"); ECF No. 50-1 at 11 (DOL stated that

"once we make a determination that we are going to rely on those statements, those are the

statements that we would produce prior to trial and the names that we would produce"). The DOL

argues that the informants privilege applies to protect the identities of those informants who will

be witnesses until that time, and protects all other informants indefinitely. Id. at 13-14.

       In response, defendants note that the classification of workers as independent contractors

or employees, the ultimate issue in this case, depends on a six-factor economic realities test that is

reliant upon the surrounding facts. ECF No. 50 at 6(citing McFeeley v. Jackson St. Entm 7, LLC,

825 F.3d 235, 241 (4th Cir. 2016)). Defendants assert that, according to Investigator Mazuera,

"the final determination that Defendants allegedly misclassified these workers was entirely based

upon witness statements." Id. at 7. Defendants argue that the "witness statements were facilitated

by a phone interview with Mr. Mazuera and written in his handwriting. Defendants have reason

to believe the investigator drafted these workers' statements in a prejudicial way by using

'buzzwords' or leading questions and statements." Id. As a result, defendants"have an interest in

determining the context and veracity ofthese statements in light ofthe potential prejudicial manner

in which they were presented." Id. at 7-8. Defendants further argue "there is nothing suspicious

or 'harassing' about Defendants contacting these individuals regarding the statements provided to

investigator Mazuera." Id. at 9. Lastly, defendants note that discovery has now closed and the

DOL's interest in preserving the privilege must give way to defendants' opportunity to prepare

their defense. Id. at 10.

       Here, the defendants know the identities ofthe 84 workers at issue, which have been listed

in schedule A to the complaint as of May 2, 2018. ECF No. 1-2. Defendants have not indicated
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that they attempted to interview any of these workers or had any difficulty with doing so.^ In
addition, the DOL has produced redacted copies of the statements taken from several witnesses.

ECF No. 43-4 (six interview statements taken from licensed practical nurses that appear to have

redacted only identifying information). Having now had an opportunity to review the redacted

statements for six licensed practical nurses, ECF No. 43-4, the Court is satisfied that the DOL

provided defendants with the pertinent factual information contained therein, other than

information that could be used to identify the informants.^ Further, the reasons defendants have

proffered for needing the identifying information go to the need to impeach potential witnesses,

including investigator Mazuera, which can be adequately addressed by the DOL's anticipated

disclosure of witnesses and any related statements shortly before trial. Brennan, 506 F.2d at 304

(holding disclosure of proposed government witnesses "for impeachment purposes should be

handled at the pretrial stage," and finding disclosure five to ten days before trial was reasonable);

cf Hemphilly 369 F.2d at 542(noting "[t]he qualified privilege must give way shortly before and

during the trial of an actual enforcement proceeding to the extent that fairness requires the

Secretary to furnish lists of prospective witnesses and written statements obtained from them.");

ECFNo. 50-lat3, 11.




^ During the conference call, counsel for defendant indicated,"1 would like to be able to efficiently
find these people and interview them myselfbecause 1 could... in theory over the next few weeks .
..[find] all eighty-four people and talk to them." ECF No. 50-1 at 18-19.

^ During the conference call, the Court was concerned that counsel for defendant had not received
the factual information contained in these statements, based on counsel's description of a sample
witness statement,"everything in the entire [document] is blacked out other than the date, the fact
that the interview took place at the establishment, the name of the employer...." ECF No. 50-1
at 26, 39. The statement counsel was referring to does not appear to be from one of the licensed
practical nurses listed in Schedule A. See ECF No. 50-3.
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       The Court FINDS that the DOL's need for confidentiality outweighs the defendants' need

for the identities ofthose who gave statements, in light ofthe fact that the redacted statements have

been produced, and the identities of the informants testifying at trial will soon be disclosed to

defendants. Accordingly, the motion to vacate is GRANTED.

       The Clerk shall send a copy of this Order to all counsel of record.




                                                                 Robert J. Krask
                                                                 United States Magistrate Judge
                                                                      Robert J. Krask
                                                              United States Magistrate Judge


Norfolk, Virginia
March 26, 2019
